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 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10                               WESTERN DIVISION
11
      LAMONT GILLON,                         )   Case No. 2:20-cv-04960-DOC (JDE)
12                                           )
                                             )
13                      Petitioner,          )   ORDER ACCEPTING FINDINGS
                                             )
14                                           )   AND RECOMMENDATION OF
                        v.                   )   UNITED STATES MAGISTRATE
15                                           )   JUDGE
                                             )
16    M. ATCHLEY, Warden,                    )
                                             )
17                                           )
                        Respondent.          )
18
19          Pursuant to 28 U.S.C. § 636, the Court has reviewed the records and files
20    herein, including the Petition (Dkt. 1), Respondent’s Answer to the Petition
21    (Dkt. 19) and supporting records, Petitioner’s Traverse (Dkt. 24), and the
22    Report and Recommendation of the United States Magistrate Judge (Dkt. 26,
23    “Report”), which was filed on March 10, 2021. No party filed timely
24    objections to the Report. The Court accordingly accepts the findings and
25    recommendation of the Magistrate Judge.
26    ///
27    ///
28    ///
     Case 2:20-cv-04960-DOC-JDE Document 27 Filed 04/28/21 Page 2 of 2 Page ID #:346




 1          IT IS THEREFORE ORDERED that Judgment be entered denying the
 2    Petition and dismissing this action with prejudice.
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              $SULO
      Dated: __________________                  _____________________________
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                                                 DAVID O. CARTER
 6                                               United States District Judge
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